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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA


          -v-
                                                               No. 18-cr-373 (RJS)
                                                                    ORDER
 LLOYD GORDON,

                               Defendant.


RICHARD J. SULLIVAN, Circuit Judge:

         Defendant Lloyd Gordon’s sentencing is currently scheduled to take place at 2:00 p.m. on

January 5, 2021. (Doc. No. 765.) On December 21, 2020, defense counsel informed the Court that he

will be unavailable for the sentencing until 3:00 p.m. Accordingly, IT IS HEREBY ORDERED THAT

Gordon’s sentencing will take place on January 5, 2021 at 3:00 p.m. in Courtroom 12D of the Daniel

Patrick Moynihan Courthouse, 500 Pearl Street, New York, NY 10007. Moreover, the Court has

determined that this proceeding complies with Chief Judge McMahon’s recent standing order regarding

the curtailment of in-person proceedings because (i) Gordon does not consent to a remote sentencing

and (ii) the sentencing cannot be postponed as it has already been pending for well over a year, making

any further delays inappropriate. See generally Standing Order, 20-mc-622 (CM) (S.D.N.Y. Nov. 30,

2020). In light of the ongoing COVID-19 pandemic, IT IS FURTHER ORDERED THAT a public line

will be made available during the sentencing. Members of the public may monitor the proceeding

through the Court’s free audio line by dialing 1-888-363-4749 and using access code 3290725#.

SO ORDERED.

Dated:            December 30, 2020
                  New York, New York

                                                    RICHARD J. SULLIVAN
                                                    UNITED STATES CIRCUIT JUDGE
                                                    Sitting by Designation
